Case 2:19-cr-00091-JCZ-JCW Document 1 ‘Filed 05/16/19 Page 1 of 7

FILED ah
U.8. DISTRICT COURT
EASTERN DISTRICT OF LA.

IIS HAY 1b PoE SY FELONY
WILLIAM 4. 8LEVIMS
CLE®

whe ni

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR VIOLATIONS OF THE FEDERAL GUN CONTROL ACT
AND THE FEDERAL CONTROLLED SUBSTANCES ACT

 

O > f ry
UNITED STATES OF AMERICA * CRIMINAL NO. i y 0 9 i
v. * SECTION: SECT. A MAG. é
DERRICK USEY * VIOLATIONS: 21 U.S.C. § 846
21 U.S.C. § 841(a)(1)
* 18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)
* 18 U.S.C. § 924(c)
* * *
The Grand Jury charges that:
COUNT 1

(Conspiracy to Distribute Controlled Dangerous Substances)

Beginning on a date unknown, but sometime prior to March 7, 2019, and continuing to on
or about April 1, 2019, in the Eastern District of Louisiana and elsewhere, the defendant,
DERRICK USEY, did knowingly and intentionally combine, conspire, confederate and agree
with other persons known and unknown to the Grand Jury, to distribute and possess with intent to
distribute 500 grams or more of a mixture or substance containing a detectible amount of

Methamphetamine, a Schedule II Controlled Dangerous Substance, and quantities of Marijuana an

1 us &
Case 2:19-cr-00091-JCZ-JCW Document 1 ‘Filed 05/16/19 Page 2 of 7

Lysergic Acid Diethylamide (LSD), Schedule I Controlled Dangerous Substances, in violation of
Title 21, United States Code, Sections 841(a)(1), (b)(1)(A), (b)(1)(C), and (b)(1)(D); all in
violation of Title 21, United States Code, Section 846.

COUNT 2
(Felon in Possession of a Firearm)

On or about March 7, 2019, in the Eastern District of Louisiana, the defendant, DERRICK
USEY, did possess a firearm and ammunition, to wit: a Taurus TCP .380 caliber semi-automatic
handgun, serial number 53721C, and ammunition, said firearm and ammunition having been
shipped and transported in interstate commerce, after having previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, to wit: a conviction on April 18, 2016,
in the 32nd Judicial District Court for the State of Louisiana, Parish of Terrebonne, under case
number 701428, for Possession of a Controlled Dangerous Substance (three counts), in violation
of LA. R.S. 40:967; a conviction on August 10, 2016, in the 17th Judicial District Court for the
State of Louisiana, Parish of Lafourche, under case number 552294, for possession with the intent
to distribute methamphetamine, in violation of LA. R.S. 40:967; and a conviction on October 6,
2016, in the 32nd Judicial District Court for the State of Louisiana, Parish of Terrebonne, under
case number 730362, for Possession with Intent to Distribute a Controlled Dangerous Substance
(three counts), in violation of LA. R.S. 40:966 and La. R.S. 40:967, and did so knowingly, all in
violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT 3
(Possession with intent to Distribute Controlled Dangerous Substances)

On or about March 7, 2019, in the Eastern District of Louisiana, the defendant, DERRICK
USEY, did knowingly and intentionally possess with the intent to distribute 500 grams or more of

2
Case 2:19-cr-00091-JCZ-JCW Document 1 ' Filed 05/16/19 Page 3 of 7

a mixture or substance containing a detectible amount of Methamphetamine, a Schedule II
Controlled Dangerous Substance, and quantities of Marijuana and Lysergic Acid Diethylamide
(LSD), Schedule I Controlled Dangerous Substances, in violation of Title 21, United States Code,
Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(C), and 841(b)(1)(D).

COUNT 4
(Possession of Firearms in Furtherance of a Drug Trafficking Crime)

On or about March 7, 2019, in the Eastern District of Louisiana, the defendant, DERRICK
USEY, did knowingly possess a firearm, to wit: a Taurus TCP .380 caliber semi-automatic
handgun, serial number 53721C, in furtherance of a drug trafficking crime for which he may be
prosecuted in a court of the United States, to wit: Conspiracy to distribute and possess with the
intent to distribute controlled dangerous substances as charged in Count 1, in violation of Title 21,
United States Code, Section 846, and possession with the intent to distribute controlled dangerous
substances as charged in Count 3; all in violation of Title 18, United States Code, Sections
924(c)(1)(A).

NOTICE OF DRUG FORFEITURE

1. The allegations of Counts | and 3 of this indictment are alleged and incorporated by
reference as though set forth fully herein for the purpose of alleging forfeiture to the United States
of America pursuant to the provisions of Title 21, United States Code, Section 853.

2. As a result of the offenses alleged in Counts 1 and 3, the defendant, DERRICK
USEY, shall forfeit to the United States pursuant to Title 21, United States Code, Section 853, any
and all property constituting or derived from any proceeds the defendant obtained directly or

indirectly as a result of the said violations and any and all property used or intended to be used in
Case 2:19-cr-00091-JCZ-JCW Document 1’ Filed 05/16/19 Page 4 of 7

any manner or part to commit and to facilitate the commission of the violation alleged in Counts

1 and 3 of this indictment.

3. If any of the above-described forfeitable property, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property, which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to
seek forfeiture of any other property of said defendant up to the value of the above-forfeitable
property.

All in violation of Title 21, United States Code, Section 853.

NOTICE OF GUN FORFEITURE

1, The allegations of Counts 2 and 4 of this indictment are realleged and
incorporated by reference as though set forth fully herein for the purpose of alleging forfeiture to
the United States of America pursuant to the provisions of Title 18, United States Code, Section
924(d)(1) and Title 28, United States Code, Section 2461(c).

2 As a result of the offenses alleged in Counts 2 and 4, the defendant, DERRICK
USEY, shall forfeit to the United States pursuant to Title 18, United States Code, Section
924(d)(1) and Title 28 United States Code, Section 2461, any firearm or ammunition, which was

4
Case 2:19-cr-00091-JCZ-JCW Document 1° Filed 05/16/19 Page 5 of 7

involved in or used in a knowing violation of Title 18, United States Code, Section 922(g), as

alleged in Count 2 of this indictment or a knowing violation of Title 18, United States Code,

Section 924(c), as alleged in Count 4 of the indictment, but not limited to:

a Taurus TCP .380 caliber semi-automatic handgun,
serial number 53721C, and ammunition

3. If any of the property subject to forfeiture pursuant to Paragraph 2 of this Notice

of Forfeiture, as a result of any act or omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third person;

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of said defendants up to the value of the above forfeitable

property.
Case 2:19-cr-00091-JCZ-JCW Document 1 Filed 05/16/19 Page 6 of 7

All in violation of Title 18, United States Code, Sections 924(c)(1)(A), 922(g), and 924(d)(1).

 

PETER G. STRASSER
UNITED STATES ATTORNEY

     

MAURICE E. LANDRIEU, JR
Assistant United States Attorney
Bar Roll No. 22104

New Orleans, Louisiana
May 16, 2019
Case 2:19-cr-00091-JCZ-JCW Document1 Filed 05/16/19 Page 7 of 7

FORM OBD-34

No.

 

 

 

 

UNITED STATES DISTRICT COURT
Eastern District of Louisiana
Criminal Division

 

THE UNITED STATES OF AMERICA
vs.

DERRICK USEY

 

INDICTMENT FOR VIOLATION OF
THE FEDERAL GUN CONTROL ACT AND
THE FEDERAL CONTROLLED SUBSTANCES ACT

 

VIOLATIONS: _ Title 21, U.S.C., §§ 846 & 841(a)(1)
Title 18, U.S.C., §§ 922(g)(1), 924(a)(2)
i 924(c)

 

 

A true bill.

-———_ — — -— ee ee

reperson

Filedinopencourtthis—§—§ dayof___
A.D, 2019.

MAURICE LANDRIE

Assistant United States Attorney

 
